Case Number: 2024-CRB-003792                      MAGISTRATE'S
                              Case: 1:24-cv-01606-BMB          DECISION/ORDER
                                                      Doc #: 26-1 Filed: 02/10/25 1 of 3. PageID #: 1099
STATE OF OHIO / CITY OF CLEVELAND                                                                    2024-CRB-003792
                        VS.                                          DOB:                                                                     Hearing Date: 12/02/2024
CLEVELAND 2 LLC                                                      Charging Officer:                                                        Hearing: Housing Corporate
Property Address: 2870 S. MORELAND BOULEVARD                                                                                                  Hearing Location: 13th Floor Courtroom B
                                                                                                                                              Hearing Judge:
                                   Charge                           PNG NGW NC PG                     FG     FNG     NOL       DWP           Sentence (NON-CC)                                          TTP
Minor       209.01 ORG Nuisance Plants, Refuse and Surface
Misdemeanor Water
                                                                     [] []                                    DDD
                                                                           Deft Pled NC and was FG on Prior Date
                                                                                                                                             Fine         Days
                                                                                                                                                                          Community Contro! CC)
                                                                                                                                                                         Fine       Days     Term

CRB                                                                                                                                                                                                    with
                                                                           Plea is to all Counts                                                                                                    restriction
                                                                                                                                                                                                      until:
                                                                           Finding is to all Counts

      Court concludes that any charges under CCO 367.99 are allied offenses of similar import to CCO 3103.25(e).
      Maximum fine for each count is $5000 under RC 2929.31 and CCO 601.99 (ORG)

               Counts   From                to                                                              Found Indigent Costs Suspended                       Sentence Stayed Until
      Bond Set $                                 Personal Bond                                             ] Sentence Satisfied as to Cost                       House Arrest
      Original Bond Reinstated                   Failure to Appear                                     [4.In Contempt Per Diem sanctions of $
                                                                                                                           -
                                                                                                                                                                                 PFw
      Capias                                     BBS/BZA Appeal                                        CJ Civil Judgment for Collection $                                         F/C/D Susp:
      Capias/Warrant Recalled               [] Warrant Fee Waived                                      Prosecutor's motion to dismiss, grounds:
      Warrant Block Release                      Vehicle Registration Block Release                    Defendant's motion to dismiss, grounds:
                                                                                                       Reduced Waiver Hearing
Cont. To:                                                                  SPW
                                                                                                                                                                         OGr
                                                                       a
                                                                                                      Non-attorney representative informed that licensed attorney
At:                                                                                                    Dismissal due to :
                                                                                          CSPT
         (corp []ShowCause                 PQStatus      [QVideoConf.               Dpto               O Corporate Authorization Filed
                                                                                                             Notice of Appearance Filed
         Cprs/Psi       [] Property Ordered Placarded            Pre -Trial Held
                                                                                                             Defendant has been Arraigned
               Subpoena Ordered:
                                                                                                       C1 Defendant is Pro Se
(J Clerk to reissue summons by:       O Cert. Mail           Bailiff                                      Defendant's
                                                                                                             Prosecutor
      Housing Court Specialist Assigned:
A PARTY SHALL NOT ASSIGN AS ERROR ON APPEAL THE COURT'S                                                [¥4.Clerk ordered to Journalize Extended Journal Entry
ADOPTION OF ANY FACTUAL FINDING OR LEGAL CONCLUSION                                                       Clerk ordered to accept $                  as Waiver amount             Express Pay
WHETHER OR NOT SPECIFICALLY DESIGNATED AS A FINDING OF                                                      Dismiss additional Cost             Continued for payment verification to
FACT OR CONCLUSION OF LAW UNDER CRIM.R.19(D)(3)(a)(ii), UNLESS
THE PARTY TIMELY AND SPECIFICALLY OBJECTS TO THAT FACTUAL                                                   Docketed Note:
FINDING OR LEGAL CONCLUSION AS REQUIRED BY CRIM.R.
19(D)(3)(b),


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 Ci Service: Copies Sénpby                  to parties/counsel on                      by


                                                                                                                                                                                 EXHIBIT A
Case Number: 2024-CRB-003777                                        MAGISTRATE'S
                                                Case: 1:24-cv-01606-BMB          DECISION/ORDER
                                                                         Doc #: 26-1 Filed: 02/10/25 2 of 3. PageID #: 1100
 STATE OF OHIO / CITY OF CLEVELAND                                                                                                                                    2024-CRB-003777
                         VS.                                             DOB:                                                                Hearing Date: 12/02/2024
CLEVELAND 2 LLC                                                          Charging Officer:                                                   Hearing: Housing Corporate                                            :



 Property Address:2843 S. MORELAND AVENUE                                                                                                    Hearing Location: 13th Floor Courtroom B
                                                                                                                                             Hearing Judge:
                                      Charge                             PNG NGW NC PG                 FG    FNG     NOL       DWP          Sentence (NON-CC)           Community Control (CC)           TTP
Minor       209.01 ORG Nuisance Plants, Refuse and Surface
Misdemeanor Water
                                                                         [] [ OO                             OF                             Fine             Days          Fine        Days   Term
                                                                                                                                                                                                     CI] TTP
                                                                            Deft Pled NC and was FG on Prior Date                                                                                       with
CRB
                                                                            Plea is to all Counts                                                                                                    restriction
                                                                                                                                                                                                       until:
                                                                         C1 Finding is to all Counts

[1 Court concludes that any charges under CCO 367.99 are allied offenses of similar import to CCO 3103.25(e).
      Maximum fine for each count is $5000 under RC 2929.31 and CCO 601.99 (ORG)

                Counts   From                  to                                                           Found Indigent Costs Suspended                          Sentence Stayed Until
CJ Bond Set $                                       Personal Bond                                           Sentence Satisfied as to Cost                           House Arrest
O Original Bond Reinstated                          Failure to Appear                                         Contempt Per Diem sanctions of $
                                                                                                                           -
                                                                                                                                                                                    PFw
O Capias                                            BBS/BZA Appeal                                          Civil Judgment for Collection $                                        C1 F/C/D Susp:
      Capias/Warrant Recalled                       Warrant Fee Waived                                  Prosecutor's-motion to dismiss, grounds:
(J Warrant Block Release                       (J Vehicle Registration Block Release                    Defendant's motion to dismiss, grounds:
                                                                                                        Reduced Waiver Hearing
Cont. To:                                                                                               Non-attorney representative informed that licensed attorney must
                                                                                           SIP
At:                                                                          Final                      Dismissal due to
                                                                                           CSPT
                         []ShowCause         [Status             VideoConf                PTO
                                       Ordered Plac ded              Pre -Trial Held
                                                                                                            Defendant has been Arraigned
                Subpoena Ordered:
                                                                                                            Defendant is Pro Se
(J Clerk to reissue summons by:            [[] Cert. Mail [[] Bailiff                                       Defend
                                                                                                        [4_Prosecuto
      Housing Court Specialist Assigned:
A PARTY SHALL NOT ASSIGN AS ERROR ON APPEAL THE COURT'S                                                 [A-Clerk ordered to Journalize Extended Journal Entry
ADOPTION OF ANY FACTUAL FINDING OR LEGAL CONCLUSION,                                                    (J Clerk ordered to accept $                        as Waiver amount         Express Pay
WHETHER OR NOT SPECIFICALLY DESIGNATED AS A FINDING OF                                                      Dismiss additional Cost                Continued for payment verification to
FACT OR CONCLUSION OF LAW UNDER CRIM.R.19(D)(3)(a){ii), UNLESS
THE PARTY TIMELY AND SPECIFICALLY OBJECTS TO THAT FACTUAL                                               [4-Docketed Note:
FINDING OR LEGAL CQNCLUSION AS REQUIRED BY CRIM.R.


                         //
19(D)(3)(b),


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       Servic               by regu ar U.S. mail to parties/counsel on             __   by



                                                                                                                                                                                     EXHIBIT A
Case Number: 2024-CRB-003778                       Case: 1:24-cv-01606-BMB Doc #: 26-1
                                                                      MAGISTRATE'S     Filed: 02/10/25 3 of 3. PageID #: 1101
                                                                                   DECISION/ORDER
STATE OF OHIO / CITY OF CLEVELAND                                                                                                                                        2024-CRB-003778
                             VS.                                           DOB:                                                               Hearing Date: 12/02/2024
Cleveland 3 LLC                                                            Charging Officer:                                                  Hearing: Housing Corporate
Property Address: 285!1 HAMPTON ROAD                                                                                                          Hearing Location: 13th Floor Courtroom B
                                                                                                                                              Hearing Judge:
                                                                          PNG NGW NC PG                 FGFNG        NOL         DWP         Sentence                                         C)     LJ TTP
Minor
                                         Charge
                     209.01 ORG Nuisance Plants, Refuse and Surface        []                  OO             O       OO                    Fine        SUBGEMENT ENTRY REGEWE                Term
                                                                                                                                                                                                     CJ TTP
Misdemeanor Water
CRB
                                                                          o Deft Pled NC and was FG on Prior Date                                            FOR JOURNALIZATION                         with
                                                                                Plea is to all Counts                                                                                                restriction

                                                                           a Finding is to all Counts                                                              DEC   009 202                       until:


   Court concludes that any charges under CCO 367.99 are allied offenses of similar import to CCO 3103.25(e)
 ] Maximum fine for each count is $5000 under RC 2929.31 and CCO 601.99 (ORG)
                                                                                                                                                        EARLE B TURNER, Clerk
                  Counts     From                 to                                                         Found Indigent Costs Suspended                       Sentence Stayed Until
         Bond Set $                                    Personal Bond                                     ] Sentence Satisfied as to Cost                          House Arrest
O Original Bond Reinstated                             Failure to Appear                                       Contempt    -
                                                                                                                               Per Diem sanctions of $ ]                       CL PFw
         Capias                                        BBS/BZA Appeal                                        Civil Judgment for Collection $                                        F/C/D Susp:
         Capias/Warrant Recalled                       Warrant Fee Waived                               Prosecutor's motion to dismiss, grounds:

         Warrant Block Release                         Vehicle Registration Block Release               Defendant's motion to dismiss, grounds:
                                                                                                        Reduced Waiver Hearing
Cont. To:             3                                      am(pm)        OSPW                         Non-attorney representative informed that licensed attorney must enter appearance
                                                                                               SIP
At   *
                                                                                                        Dismissal due to:
                                                                                               CSPT
                             []ShowCause       WHStatus       pl VideoConf. [PTO                             Corporate Authorization Filed
                                                                                                             Notice of Appearance Filed
            CypFs/PsI              Property Ordered Placarded    O Pre -Trial Held                           Defendant has been Arraigned
                  Subpoena Ordered:                                                                          Defendant is Pro Se
         Clerk to reissue summons by:             Cert. Mail       Bailiff                                   Defendant's Atty
                                                                                                             Prosecutor
         Housing Court Specialist Assigned:
                                                                                                                   ordered to Journalize Extended Journal Entry
A PARTY SHALL NOT ASSIGN AS ERROR ON APPEAL THE COURT'S
                                                                                                             Clerk ordered to accept $                 as Waiver amount
ADOPTION OF ANY FACTUAL FINDING OR LEGAL CONCLUSION,                                                                                                                                 Express Pay
WHETHER OR NOT SPECIFICALLY DESIGNATED AS A FINDING OF                                                  []   Dismiss additional Cost               Continued for payment verification to
FACT OR CONCLUSION OF LAW UNDER CRIM.R.19(D)(3)(a)(ii), UNLESS
THE PARTY TIMELY AND SPECIFICALLY OBJECTS TO THAT FACTUAL                                               [-Docketed Note:
FINDING OR LEGAL CO    USION AS REQUIRED BY CRIM.R.
19(D)(3)(b),



          Service:    piés     byfegular U.S: mailto parties/counsel on                      by


                                                                                                                                                                                   EXHIBIT A
